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                         U.S. DISTRICT COURT FOR THE
              SOUTHERN DISTRICT OF ILLINOIS, EAST ST. LOUIS DIVISION

GERRY ARMBRUSTER #S02006,

                        Plaintiff,
                                                    No. 3:16-cv-00544-MJR-SCW
v.
                                                    Judge Michael J. Reagan
WEXFORD HEALTH CARE, INC.;
BHARAT SHAH; RON VITALE; LORETTA                    Magistrate Judge Stephen C. Williams
WILFORD,

                        Defendants.

                        ANSWER TO THIRD AMENDED COMPLAINT

       COMES NOW Defendant, WEXFORD HEALTH SOURCES, INC., and for its Answer

to plaintiff, GERRY ARMBRUSTER #S02006’s Third Amended Complaint (Doc. 123), states

as follows:

                                              Introduction

       1.         Defendant admits that Plaintiff had certain medical conditions, and received

certain care and treatment, all of which is more fully set forth in his IDOC medical records.

Except as expressly admitted herein, Defendant denies the remaining allegations contained in

this paragraph.

       2.         Defendant admits that Plaintiff had certain medical conditions, and received

certain care and treatment, all of which is more fully set forth in his IDOC medical records.

Except as expressly admitted herein, Defendant denies the remaining allegations contained in

this paragraph.

       3.         Defendant admits that Plaintiff had certain medical conditions, and received

certain care and treatment, all of which is more fully set forth in his IDOC medical records, but

has insufficient information and knowledge as the events subsequent to Plaintiff’s discharge
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from IDOC custody to formulate an answer to the allegations contained in this paragraph, and

therefore denies the same.

                                    Jurisdiction and Venue

       4.      Admitted, upon information and belief.

       5.      The statements contained in this paragraph are legal conclusions to which no

response is required or made. To the extent the statements contained in this paragraph are

construed as averments of fact against this Defendant, they are denied.

                                                 Parties

       6.      Upon information and belief, Plaintiff is no longer incarcerated in the IDOC.

Defendant admits that Plaintiff was housed at Southwestern Illinois Correctional Center during

the times of the allegations, specifically during May through approximately September 15, 2014.

Except as expressly admitted herein, denied.

       7.      Defendant admits that it is a corporation contracted to the Illinois Department of

Corrections and employed various health care providers at Illinois Department of Corrections

facilities such as Southwestern Illinois Correctional Center. Except as expressly admitted herein,

Defendant denies the remaining allegations contained in this paragraph.

       8.      As the allegations contained in this paragraph are not directed towards this

Defendant no response is required or made. In the event the allegations contained in this

paragraph are construed as against this Defendant, they are denied.

       9.      As the allegations contained in this paragraph are not directed towards this

Defendant no response is required or made. In the event the allegations contained in this

paragraph are construed as against this Defendant, they are denied.




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       10.        As the allegations contained in this paragraph are not directed towards this

Defendant no response is required or made. In the event the allegations contained in this

paragraph are construed as against this Defendant, they are denied.

                                             Allegations

       11.        Defendant admits that Plaintiff had certain medical conditions, and received

certain care and treatment, all of which is more fully set forth in his IDOC medical records.

Except as expressly admitted herein, Defendant denies the remaining allegations contained in

this paragraph.

       12.        Defendant admits that Plaintiff had certain medical conditions, and received

certain care and treatment, all of which is more fully set forth in his IDOC medical records.

Except as expressly admitted herein, Defendant denies the remaining allegations contained in

this paragraph.

       13.        Defendant admits that Plaintiff had certain medical conditions, and received

certain care and treatment, all of which is more fully set forth in his IDOC medical records.

Except as expressly admitted herein, Defendant denies the remaining allegations contained in

this paragraph.

       14.        Defendant admits that Plaintiff had certain medical conditions, and received

certain care and treatment, all of which is more fully set forth in his IDOC medical records.

Except as expressly admitted herein, Defendant denies the remaining allegations contained in

this paragraph.

       15.        Defendant has insufficient information and knowledge as to Plaintiff’s use of the

grievance system to formulate an answer to the allegations contained in this paragraph, and,

therefore, denies the same.




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       16.        Defendant admits that Plaintiff had certain medical conditions, and received

certain care and treatment, all of which is more fully set forth in his IDOC medical records.

Except as expressly admitted herein, Defendant denies the remaining allegations contained in

this paragraph.

       17.        Defendant admits that Plaintiff had certain medical conditions, and received

certain care and treatment, all of which is more fully set forth in his IDOC medical records.

Except as expressly admitted herein, Defendant denies the remaining allegations contained in

this paragraph.

       18.        Defendant admits that Plaintiff had certain medical conditions, and received

certain care and treatment, all of which is more fully set forth in his IDOC medical records.

Except as expressly admitted herein, Defendant denies the remaining allegations contained in

this paragraph.

       19.        Defendant admits that Plaintiff had certain medical conditions, and received

certain care and treatment, all of which is more fully set forth in his IDOC medical records.

Except as expressly admitted herein, Defendant denies the remaining allegations contained in

this paragraph.

       20.        Defendant admits that Plaintiff had certain medical conditions, and received

certain care and treatment, all of which is more fully set forth in his IDOC medical records.

Except as expressly admitted herein, Defendant denies the remaining allegations contained in

this paragraph.

       21.        As the allegations contained in this paragraph are not directed towards this

Defendant no responses is offered or required. In the event the allegations contained in this

paragraph are construed as towards this Defendant, the same are denied.




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        22.       Defendant admits that Plaintiff had certain medical conditions, and received

certain care and treatment, all of which is more fully set forth in his IDOC medical records.

Except as expressly admitted herein, Defendant denies the remaining allegations contained in

this paragraph.

        23.       Defendant has insufficient information and knowledge as to Plaintiff’s condition

upon release from Southwestern Illinois Correctional center or his subsequent actions to

formulate a response to the statements in this paragraph and, therefore, denies the same.

        24.       Defendant has insufficient information and knowledge as to Plaintiff’s actions or

medical condition subsequent to his release from Southwestern Illinois Correctional Center to

formulate a response to the statements in this paragraph and, therefore, denies the same.

        25.       Denied.

                                            COUNT I
                  42 U.S.C. §1983 – Denial of Medical Care (Eighth Amendment)
                                         All Defendants

        26.       Defendant incorporates each response to Plaintiff’s Third Amended Complaint as

if fully stated herein.

        27.       Defendant admits that Plaintiff had certain medical conditions, and received

certain care and treatment, all of which is more fully set forth in his IDOC medical records.

Except as expressly admitted herein, Defendant denies the remaining allegations contained in

this paragraph.

        28.       Denied.

        29.       Denied.

        30.       Denied.

        31.       Denied.




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       32.    Defendant admits that it is a corporation contracted to the Illinois Department of

Corrections and employed various health care providers at Illinois Department of Corrections

facilities such as Southwestern Illinois Correctional Center, and provided certain guidelines for

the care and treatment of certain medical conditions for use by its employees.        Except as

expressly admitted herein, Defendant denies the remaining allegations contained in this

paragraph.

       33.    Denied.

       34.    Denied.

       35.    Denied.

       36.    Denied.

       37.    Defendant admits that during the times of the allegations, specifically May

through September 15, 2014, Dr. Bharat Shah was a physician employed by Wexford Health

Sources, Inc. at Southwestern Illinois Correctional Center. Dr. Bharat Shah provided medical

care to certain offenders at Southwestern Illinois Correctional Center. Dr. Bharat Shah had

certain supervision over nursing care. Except as expressly admitted herein, denied.

       38.    Denied.

       39.    Denied.

       40.    Denied.

       41.    Denied.

       42.    Denied.

       WHEREFORE Defendant, WEXFORD HEALTH SORUCES, INC., having fully

answered Count I of Plaintiff’s Third Amended Complaint (Doc. 123), respectfully requests to




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be dismissed with cost to Plaintiff and for such other and further relief as the Court deems just

and proper.

                                              COUNT II
                      42 U.S.C. §1983 – Failure to Intervene (Eighth Amendment)
                                            All Defendants

        43.     Defendant incorporates each response to Plaintiff’s Third Amended Complaint as

if fully stated herein.

        44.     Denied.

        45.     Denied.

        46.     Denied.

        47.     Denied.

        WHEREFORE Defendant, WEXFORD HEALTH SORUCES, INC., having fully

answered Count II of Plaintiff’s Third Amended Complaint (Doc. 123), respectfully requests to

be dismissed with cost to Plaintiff and for such other and further relief as the Court deems just

and proper.

                                             COUNT III
                                  735 ILCS 5/2 – Medical Malpractice
                                    Defendants Shah and Wexford

        48.     Defendant incorporates each response to Plaintiff’s Third Amended Complaint as

if fully stated herein. Except as expressly admitted herein, Defendant denies the remaining

allegations contained in this paragraph.

        49.     Defendant admits that it is a corporation contracted to the Illinois Department of

Corrections and fulfilled all duties imposed upon it by law or contract. Except as expressly

admitted herein, Defendant denies the remaining allegations contained in this paragraph.

        50.     Denied.




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       51.     Denied.

       WHEREFORE Defendant, WEXFORD HEALTH SORUCES, INC., having fully

answered Count III of Plaintiff’s Third Amended Complaint (Doc. 123), respectfully requests to

be dismissed with cost to Plaintiff and for such other and further relief as the Court deems just

and proper.

                                              COUNT IV
                                          Respondeat Superior
                                          Defendant Wexford

       52.     As this claim has already been dismissed by the Court (Doc. 81), no response is

required. Except as expressly admitted herein, denied.

       53.     As this claim has already been dismissed by the Court (Doc. 81), no response is

required. Except as expressly admitted herein, denied.

       54.     As this claim has already been dismissed by the Court (Doc. 81), no response is

required. Except as expressly admitted herein, denied.

       55.     As this claim has already been dismissed by the Court (Doc. 81), no response is

required. Except as expressly admitted herein, denied.

        Defendant denies that Plaintiff is entitled to the relief he seeks.

       WHEREFORE Defendant, WEXFORD HEALTH SORUCES, INC., having fully

answered Plaintiff’s Third Amended Complaint (Doc. 123), respectfully requests to be dismissed

with cost to Plaintiff and for such other and further relief as the Court deems just and proper.

                                     AFFIRMATIVE DEFENSES:

       1.      At all times relevant herein, Defendant acted in good faith in the performance of

its official duties and without violating Plaintiff’s clearly established statutory or constitutional

rights of which a reasonable person would have known. Thus, Defendant is protected from suit




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by the Doctrine of Qualified Immunity.

       2.      To the extent the Plaintiff has failed to exhaust his administrative remedies prior

to the initiation of this cause of action, Plaintiff’s claims are barred by the Prison Litigation

Reform Act and other applicable statutes.

       3.      To the extent Plaintiff’s claims are against Defendant in its official capacity, the

 claims are barred by the Eleventh Amendment.

       4.      Plaintiff’s claims are barred by applicable statues of limitations and should be

 dismissed.

       5.      To the extent that all or some of Plaintiff’s claims of damages are caused by

failure to mitigate and/or comparative fault they should be limited as such.

       6.      To the extent that Plaintiff has failed to state a claim for which relief can be

granted Plaintiff’s Third Amended Complaint should be dismissed.

       WHEREFORE Defendant, WEXFORD HEALTH SORUCES, INC., having fully

answered Plaintiff’s Third Amended Complaint (Doc. 123), respectfully requests to be dismissed

with cost to Plaintiff and for such other and further relief as the Court deems just and proper.

                                              Respectfully submitted,

                                              CASSIDAY SCHADE LLP

                                              By: /s/ Jaclyn Kinkade
                                                  Attorneys for Defendants, BHARAT SHAH,
                                                  M.D., WEXFORD HEALTH SOURCES,
                                                  INC., and LORETTA WILFORD

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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 18, 2018, I electronically filed the foregoing Answer to

Plaintiff’s Third Amended Complaint with the Clerk of the Southern District of Illinois using the

CM/ECF system. The electronic case filing system sent a “Notice of E-Filing” to the following:

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                                                                              /s/ Jaclyn Kinkade




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